     Case 4:18-cv-00120-JHM-HBB Document 22 Filed 06/03/19 Page 1 of 4 PageID #: 108




 1                               UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF KENTUCKY
 2
                                     OWENSBORO DIVISION
 3

 4    ROBERT ANDERSON,                                    Case No.: 4:18-cv-120-JHM-HBB
                Plaintiff,
 5

 6
                      v.                                  ELECTRONICALLY FILED

 7    CAPITAL ONE BANK (USA), N.A.,
                Defendant.
 8

 9
                     JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
10
             Plaintiff, Robert Anderson (“Plaintiff”), and Defendant Capital One Bank (USA), N.A.
11

12    (“Defendant”), pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), hereby stipulate to

13    the dismissal of all of Plaintiff’s claims in this action against Defendant WITH PREJUDICE,
14
      with each party to bear its own costs and fees.
15
      JOINTLY SUBMITTED BY:
16
      s/ Daniel JT McKenna (with permission)            s/ Joseph E. Blandford, Jr.
17
      Daniel JT McKenna                                 Joseph E. Blandford, Jr.
18    1735 Market Street, 51st Floor                    1387 S. Fourth Street
      Philadelphia, PA 19103                            Louisville, Kentucky 40208
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      E: Mckennad@ballardspahr.com                      Email: jeblaw@bellsouth.net
21    COUNSEL FOR DEFENDANT                             COUNSEL FOR PLAINTIFF

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     Case 4:18-cv-00120-JHM-HBB Document 22 Filed 06/03/19 Page 2 of 4 PageID #: 109




 1                              UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF KENTUCKY
 2
                                    OWENSBORO DIVISION
 3
      ROBERT ANDERSON,                                 Case No: 4:18-cv-120-JHM-HBB
 4              Plaintiff,
                                                        [PROPOSED] ORDER OF DISMISSAL
 5
                     v.
 6
      CAPITAL ONE BANK (USA), N.A.,
 7              Defendants.
 8

 9                              [PROPOSED] ORDER OF DISMISSAL
10           Plaintiff, Robert Anderson (“Plaintiff”), and Defendant, Capital One Bank (USA), N.A.,
11
      (“Defendant”), having filed a Joint Notice of Settlement and the Court being otherwise
12
      sufficiently advised,
13

14           IT IS HEREBY ORDERED that all of Plaintiff’s claims against Defendant are

15    DISMISSED with prejudice. Each party shall bear their own costs and attorney’s fees.
16

17
             SO ORDERED.
18

19           Dated: _______________                              _______________________
20                                                               Joseph H. McKinley Jr.
                                                                 United States District Judge
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     Case 4:18-cv-00120-JHM-HBB Document 22 Filed 06/03/19 Page 3 of 4 PageID #: 110




 1                                    CERTIFICATE OF SERVICE
 2
             I hereby certify that on the 3rd day of June 2019, I electronically filed the foregoing
 3
      Stipulation of Dismissal using the CM/ECF System, which will notify all registered parties.
 4
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25
                                                           s/ Joseph E. Blanford, Jr.
26
                                                           Joseph E. Blandford , Jr.
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     Case 4:18-cv-00120-JHM-HBB Document 22 Filed 06/03/19 Page 4 of 4 PageID #: 111




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                                               COUNSEL FOR PLAINTIFF
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